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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                         :
 UNITED STATES OF AMERICA                :      Case No: ____________
                                         :
              v.                         :      18 U.S.C. §§ 1752(a)(1), 1752(a)(2)
                                         :      (Unlawful Entry on Restricted Grounds)
   SAMUEL J. FISHER,                     :
                                         :      40 U.S.C. § 5104(e)(2)(D)
        a/k/a “Brad Holiday”,            :      (Disorderly Conduct on Restricted Grounds)
                                         :
                                         :
        Defendant.                       :
                                         :


               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                          AND ARREST WARRANT

       I, KATHERINE ANGULO, being first duly sworn, hereby depose and state as follows:

                                  PURPOSE OF AFFIDAVIT

       1.      This Affidavit is submitted in support of a Criminal Complaint charging SAMUEL

FISHER (“FISHER”), a/k/a “Brad Holiday,” with violations of 18 U.S.C. §§ 1752(a)(1) and

1752(a)(2) (Unlawful Entry on Restricted Grounds) and 40 U.S.C. § 5104(e)(2)(D) (Disorderly

Conduct on Restricted Grounds).

       2.      I respectfully submit that this Affidavit establishes probable cause to believe that

FISHER (1) did knowingly enter or remain in any restricted building or grounds without lawful

authority, and did knowingly, and with intent to impede or disrupt the orderly conduct of

Government business or official functions, engage in disorderly or disruptive conduct in, or within

such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,

impeded or disrupted the orderly conduct of Government business or official functions, in violation

of 18 U.S.C. §§ 1752(a)(1) and 1752(a)(2); and (2) did engage in disorderly or disruptive conduct,



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at any place in the U.S. Capitol Grounds or in any of the U.S. Capitol Buildings with the intent to

impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress,

or the orderly conduct in that building of a hearing before, or any deliberations of, a committee of

Congress or either House of Congress, in violation of 40 U.S.C. § 5104(e)(2)(D).

                                 BACKGROUND OF AFFIANT

       3.      I am a Special Agent with the FBI. As such, I am a “federal law enforcement officer”

within the meaning of Federal Rule of Criminal Procedure 41(a)(2)(C), that is, a government agent

engaged in enforcing the criminal laws and duly authorized by the Attorney General to request

search warrants. I have been employed by the FBI since in or about 2014, and have served as a

Special Agent with the FBI for approximately 10 months. I am currently assigned to the FBI’s

Threat Response Squad. I have participated in investigations into domestic terrorism, and the

execution of search warrants for premises, including those that involved the seizure of electronic

evidence.

       4.      Unless otherwise stated, the information in this Affidavit is either personally known

to me, has been provided to me by other individuals, or is based on a review of various documents,

records, and reports. Because this Affidavit is submitted for the limited purpose of establishing

probable cause to support an application for an arrest warrant, it does not contain every fact known

by me or the United States. The dates listed in this Affidavit should be read as “on or about” dates.

               STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

                          Assault on the U.S. Capitol on January 6, 2021

       5.      The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include




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permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       6.      On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members of

the public.

       7.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30

p.m., the House and Senate adjourned to separate chambers to resolve a particular objection. Vice

President Mike Pence was present and presiding, first in the joint session, and then in the Senate

chamber.

       8.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior of

the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd

away from the Capitol building and the proceedings underway inside.

       9.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter or

remain in the building and, prior to entering the building, no members of the crowd submitted to




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security screenings or weapons checks by U.S. Capitol Police Officers or other authorized security

officials.

        10.      At such time, the certification proceedings still underway and the exterior doors and

windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking

windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged

and assisted those acts.

        11.      Shortly thereafter, at approximately 2:20 p.m., members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the

United States Congress, including the joint session, were effectively suspended until shortly after

8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry to the

U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol without

any security screening or weapons check, Congressional proceedings could not resume until after

every unauthorized occupant had left the U.S. Capitol, and the building had been confirmed

secured. The proceedings resumed at approximately 8:00 pm after the building had been secured.

Vice President Pence remained in the United States Capitol from the time he was evacuated from

the Senate Chamber until the session resumed.

        12.      During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.



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                             SAMUEL FISHER a/k/a “Brad Holiday

       13.     Within the past approximately one week, an individual (“Individual-1”) contacted

the FBI and provided information about certain photographs that Samuel FISHER, a/k/a “Brad

Holiday,” the Target Subject, had recently posted to at least one Facebook account associated with

FISHER. Individual-1 stated, in sum and substance, that the photographs appeared to depict

FISHER in the vicinity of the U.S. Capitol on or about January 6, 2021, during the events described

above. The photographs also appeared to depict FISHER holding at least one firearm. Individual-1

provided the FBI with screenshots of certain of the photographs in question, which I have reviewed.

       14.     In one of the photographs (“Photograph-1”), an individual subsequently identified

as FISHER, as described below, is depicted in a large crowd in the vicinity of the U.S. Capitol.

Based on my conversations with a U.S. Capitol Police Officer, who also reviewed Photograph-1, I

believe that, when Photograph-1 was taken, FISHER was standing on the steps of the U.S. Capitol,

unlawfully within a restricted area. In another of the photographs (“Photograph-2”), FISHER is

depicted holding what appears to be a firearm in front of a flag that states, in sum and substance,

“Don’t Tread on Trump, Keep America Great.” The caption of Photograph-2 states, in sum and

substance, “Can’t wait to bring a liberal back to this freedom palace.” Screenshots of Photograph-

1 and Photograph-2 appear below.




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                          Photograph 1




                          Photograph 2


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       15.     I have reviewed Department of Motor Vehicles records associated with FISHER

(the “DMV Records”), including a photograph of FISHER (the “DMV Photograph”). Based on my

comparison of the DMV Photograph with Photograph-1 and Photograph-2, and my training and

experience, I believe that all three photographs depict the same individual, and that that individual

is FISHER.

                          Social Media Evidence of Offenses by FISHER

       16.     I have reviewed the publicly accessible portion of the Facebook accounts “Holiday

Joseph Bradly,” user identification number (“UID”) 100010342990492 (“Facebook Account-1”),

and “LuxLife Dating Coach,” UID 317782599170387 (“Facebook Account-2”) (collectively, the

“Facebook Accounts”) which contain numerous photographs of a particular individual. Based on

my comparison of the photographs that appear on the Facebook Accounts with a DMV Photograph,

Photograph-1, and Photograph-2, I believe that all of the photographs depict the same individual,

and that that individual is FISHER. I further believe that FISHER is the user of the Facebook

Accounts. Likewise, I have determined that FISHER is the person who appears in videos and

publishes content on a particular website, bradholiday.com, based on the content of that site and

my comparison of the images of FISHER that appear there with the above-referenced photographs.

       17.     Based on my review of records associated with Facebook Account-1, which law

enforcement obtained from Facebook, I have learned that, in various posts and direct messages,

FISHER communicated, in sum and substance, that, before on or about January 6, 2021, FISHER

traveled to Washington, D.C. and thereafter participated in the events at the U.S. Capitol that did

impede, disrupt, and disturb the orderly conduct of Government business or official functions, that

is, the certification proceedings underway inside the U.S. Capitol.; and that while FISHER was in

Washington, D.C., he was in possession of multiple firearms and a bulletproof vest. I have further



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learned that the IP addresses associated with certain of the posts indicate that FISHER made them

while he was in or around Washington, D.C. on or about January 6, 2021.

       18.     Based on my review of the records associated with the Facebook Accounts, it is

evident that, when FISHER did enter and remain in the restricted grounds of the U.S. Capitol

without lawful authority, he did so with intent to impede, disrupt, and disturb the orderly conduct

of the certification proceedings underway inside the U.S. Capitol. Specifically, that intent is

demonstrated by the following statements and posts attributable to FISHER on the Facebook

Accounts:

               •   December 3, 2020: “We must stand up to these people and take our world back”
                   / “It’s time to bring the pain upon them”

               •   December 30, 2020: “im headed to dc on the 5th”

               •   December 31, 2020: “they cant arrest us all man” / “gotta stand up” / “I think
                   there gonna be over a million patriots in DC” / “I’m going there” / “on the 6th”

               •   •December 31, 2020: “just march on DC on the 6th” / “bring ur guns sr” / “I’ll
                   be there man” / “if you wanna roll with” / “you have firearms?” / “i'd exercise
                   my 2A legal rights there”

               •   January 3, 2021, in response to a request to take video on January 6th when “Real
                   Patriots will fall upon the capital in protest”: “Yea dude” / “I’m there” / “Just
                   booked my Room”

               •   January 5-6, 2021, in response to question “You in DC?”: “Yea” “I’ve been here
                   for a day” “I think it’s game over for Trump. The swamp and pedophiles in
                   Hollywood are immortal” / “If millions of patriots don’t show up with guns” /
                   “It could be over” / “I’m in some nasty air b n b in the Hood” / “Haven’t slept in
                   2 days basically” / “Feel like shit and tmo they’re gonna steal the election then I
                   have to drive 10 Hours back home”

               •   January 6, 2021, in response to question “How long you’re there till?:
                   “tomorrow” “unless i need to be here for longer” “anxiety is high” “haven’t
                   realaly slept in like 2-3 days”

               •   January 6, 2021: “Gotta make a stand man” “Not gonna be intimidated”
                   (question: “DC open carry state?”) “No” “Not at all” (response: “I would stay
                   heavy though”) “You know it”


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Following the last January 6, 2021, post listed above, FISHER sent the following photograph of

firearms:




                                          Photograph 3

On the same day, he wrote: “I’m Going To the parking garage super early” “Leaving shit in there

maybe except pistol” “And if it kicks off I got a Vest and My Rifle.”

       19.      In a message posted on bradholiday.com on January 6, 2021, FISHER appears to

describe the January 5, 2021, “Stop the Steal” rally in Washington, D.C., and describes his

intentions for the following day, January 6, 2021:



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           I am writing this from my Air B n B in Washington D.C. . . . . Tomorrow, Trump
       and We The People will be betrayed again by every so called representative who
       said they’d fight for us. Ted Cruz, Dan Crenshaw, all of these supposed hardcore
       constitutionalist republicans… all are compromised. They will allow the steal to
       go on . . . . There’s really three outcomes I forsee happening.

             •   Trump has an Ace card up his sleeve. He plays it. The Deep State is arrested
                 and hanged on the White House lawn for the High Treason . . . .
             •   Trump fails, Biden gets installed… Patriots are ineffective and we live
                 under the rule of the elite pedophiles and chinese communist party . . . .
             •   Trump fails, Biden gets installed… Patriots show up in the millions with
                 guns. They execute all treasonous members of government and rebuild.

           Each of these, I believe are equally likely. At the Stop The Steal rally today…
       I was disappointed at the lack of numbers of patriots . . . . If there are over 1 million
       patriots that show up tomorrow for trumps 11AM speech. At 1 when congress
       certifies the election… Trump just needs to fire the bat signal… deputize patriots…
       and then the pain comes. 1 Million Pissed off men with guns… bad idea. We aren’t
       looking to fight or hurt anyone… but the odds that this is going to be solved any
       other way… is next to nothing . . . .

https://bradholiday.com/?p=2938 (formatting altered)

       20.       On January 7, 2021, on Facebook Account-1, Fisher was asked, “Did you get to

the frontlines?” FISHER responses included the following: “i was there . . . it was awesome” / “it

was dangerous and violent” / “people died . . . but it was fucking great if you ask me . . . i got tear

gassed and pepper sprayed” / “seeing cops literally run . . . was the coolest thing ive ever seen in

my life” / “cant divulge too much here” / “but fuck the dc police” / “in all seriousness and get

ready . . . get in shape and see if you can find someone that knows medical/veteran w/ combat

experience”

                                  CONCLUSIONS OF AFFIANT

       21.       Based on the foregoing, your Affiant submits that there is probable cause to believe

that FISHER violated 18 U.S.C. § 1752(a)(1) and 1752(a)(2) (Unlawful Entry on Restricted

Grounds) and 40 U.S.C. § 5104(e)(2)(D) (Disorderly Conduct on Restricted Grounds).




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       As such, I respectfully request that the court issue an arrest warrant for FISHER. The

statements above are true and accurate to the best of my knowledge and belief.


                                             ___________________________________
                                             KATHERINE ANGULO
                                             FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 20th day of January, 2021.

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                                             ___________________________________

                                             ZIA M. FARUQUI

                                             U.S. MAGISTRATE JUDGE




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